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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF LOUISIANA
                                MONROE DIVISION

   STATE OF LOUISIANA, STATE OF
   MISSOURI, et al.

                   Plaintiffs,

      v.                                                Case No. 3:22-cv-01213-TAD-KDM

   JOSEPH R. BIDEN, JR., in his official
   capacity as President of the United States, et
   al.,

                   Defendants.


           [PROPOSED] ORDER GRANTING PLAINTIFFS’ CONSENT MOTION
               FOR LEAVE TO EXCEED PAGE LIMIT FOR REPLY BRIEF
              IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION

       Upon consideration of Plaintiffs’ Motion for Leave to Exceed Page Limit for Reply Brief

in Support of their Motion for Preliminary Injunction, and noting Defendants’ consent to Plaintiffs’

Motion, IT IS HEREBY ORDERED that Plaintiffs’ Motion is GRANTED.



       MONROE, LOUISIANA, this ___ day of May, 2023.



                                                                  __________________________
                                                                   Terry A. Doughty
                                                                   United States District Judge




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